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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



                                                          Chapter 11
    In re:
                                                          Case No. 09-10138 (KG)
    NORTEL NETWORKS INC., et al.,
                                                          (Jointly Administered)
                                       Debtors.

                                                          RE: Docket No. 1587, 1686




OBJECTION BY OSS NOKALVA, INC., TO DEBTORS’ MOTION FOR ORDERS (I)(A)
AUTHORIZING AND APPROVING THE BIDDING PROCEDURES, (B) APPROVING
    THE NOTICE PROCEDURES, AND (C) SETTING A DATE FOR THE SALE
       HEARING, AND (II) AUTHORIZING AND APPROVING SALE OF
          CERTAIN ASSETS OF DEBTORS’ GSM/GSM-R BUSINESS

             OSS Nokalva, Inc., the successor in interest to Open Systems Solutions, Inc. (“OSS”), by

and through its undersigned counsel, by way of objection to Debtors’ Motion for Orders (I)(A)

Authorizing and Approving Bidding Procedures, (B) Approving the Notice Procedures, and (C)

Setting a Date for the Sale Hearing, and (II) Authorizing and Approving the Sale of Certain

Assets of Debtors’ GSM/GSM-R Business [Docket No. 1587] (the “Motion”), respectfully states

and represents:

                                    PRELIMINARY STATEMENT

             1.      OSS is a party with Debtor Nortel Networks Inc. (“NNI” or “Debtor”) to certain

“Nortel           Networks/OSS   Corporate-Wide      Software      License     Agreements”       (the    “OSS

Agreements”)1. Pursuant to the OSS Agreements, OSS non-exclusively licenses to NNI OSS



1
 Capitalized terms have the meaning ascribed to them in the Motion or OSS Agreements, unless the meaning is
otherwise clear from the context of their usage.
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software, including, without limitation, source code generated by NNI through use of certain of

the OSS software (collectively, the “OSS Software”), and such licenses and the OSS Agreements

cannot be assigned without OSS’ consent.

       2.      Whether by design or inadvertence, nothing in the Motion, Bidding Procedures,

or proposed Sale Agreement remotely identifies OSS, the OSS Agreements or the OSS Software

as integral parts of the sale of the Assets to a yet-unknown purchaser. OSS submits, however,

the OSS Software is an integral part of the NNI Assets being proposed for sale, as has been the

case in other asset sales by NNI in this bankruptcy.

       3.      Despite that fact, OSS has received no notice, formal or otherwise, that NNI

intends to assume and assign the OSS Agreements to a purchaser of the Assets. To the contrary,

NNI’s counsel and the Motion suggest any assignment of the OSS Agreements will be done

separately. Because of the nature of NNI’s use of the OSS Software, OSS submits it may not be

possible to separate the sale of the Assets from the OSS Agreements. Moreover, OSS submits

that, in addition to the de facto and unlawful assignment of the OSS Agreements without OSS’

consent, the OSS Software may be embedded in the Assets and cannot be used by a purchaser

without infringement of OSS’ software licenses.

       4.      OSS does not consent to the assignment of the OSS Agreements or transfer of the

OSS Software to any purchaser. Such consents are required by the OSS Agreements and

applicable non-bankruptcy law. OSS expressly reserves all rights to take appropriate legal

action against persons or entities infringing, or aiding and abetting the infringement of, the OSS

Software.

       5.      Accordingly, OSS respectfully requests that the Court deny approval of the

proposed Sale Agreement and sale of the Assets, as presently proposed.



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                                       BACKGROUND

 A. The Sale of Debtors’ GSM/GSM-R Business

       6.     For the past several months, NNI has slowly been selling off various units or

divisions of its business. On several prior occasions, NNI’s sale of assets included an express

assumption and assignment of intellectual property licenses. The Motion does not purport to

include an assumption and assignment of licenses. However, the Motion states that NNI is

assembling a list of contracts which it may need to assume and assign pursuant to section 365 of

the Bankruptcy Code, and that it will file a separate motion seeking approval for such

assumptions and assignments to be heard at the Sale Hearing. (Motion, ¶ 21).

       7.     Currently, NNI is attempting to sell additional pieces of its business, including the

sale of certain assets of its GSM/GSM-R business that are the subject of the Motion. OSS

Nokalva is aware that Nortel’s GSM Application Design Unit has a license for OSS’ Software,

which suggests it is highly probable that the proposed GSM/GSM-R sale includes OSS Software.

       8.     In addition, in the prior sales of parts of Debtors’ business, OSS’ Software has

been an integral part of those businesses and assets. OSS Software was used by the CDMA and

LTE Business that NNI sold to Telefonaktiebolaget LM Ericsson and the OSS’ ASN.1 Tools

software was part of the Next Generation Serving Packet Core Network Components business,

for which NNI previously sought the permission of this Court to sell.

       9.     Under the terms of the Motion, NNI has not yet found a purchaser for the Assets

of the GSM/GSM-R Business it proposes to sell, but has included in the proposed Sale

Agreement a description of the sale process in which it will engage with any prospective

purchaser or highest bidder of the Assets. (See Exhibit A to the Notice of Filing of Proposed




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Asset Sale Agreement, D.I. 1649). Both the Motion and the Sale Agreement suggest strongly,

albeit obliquely, that the OSS Software is an integral component of the Assets.

       10.     As set forth in the Motion, the Assets for sale consist of GSM/GSM-R’s business

which is described as acting as a “supplier of GSM networks to operators globally and works

with such operators to implement various GSM products. In this regard, Nortel develops,

manufactures, tests, sells and supplies GSM access and core infrastructures, services, and

solutions. . . . Built on Nortel’s GSM access and core network solutions, the networks are

characterized by high voice quality, security, radio performance and leading-edge wireless voice

and data capabilities. Nortel recently introduced Nortel Smart Power Management software,

which, combined with other enhancements made to Nortel’s GSM technology that makes today’s

Nortel GSM portfolio up to 50% more energy efficient than it was five years ago.” (Motion, ¶¶

10- 11).

       11.     The transfer of OSS’ Software would appear to be a central component of any

proposed sale by NNI, including this one.

       12.     For example, Section 2.1.1 of the Sale Agreement listing the assets to be sold

includes references to intellectual property. In addition, Section 4.5 of the Sale Agreement deals

specifically with the transfer of NNI’s intellectual property to the ultimate purchaser.

       13.     The Sale Agreement also references a proposed Intellectual Property License

Agreement and a proposed Trademark License Agreement although these were not attached to

any of the documents electronically filed with the Court; consequently, their terms remain

undisclosed and whether they are intended to apply to the OSS Software remains unknown.




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       14.     However, from these sections, it clearly appears that the sale contemplates and

requires a transfer of OSS’ Software as an integral part of the transfer of NNI’s GSM/GSM-R

business.

B. OSS’ Agreements with NNI

       15.     NNI and OSS entered into the OSS Agreements as of the 25th day of June, 1999.

Pursuant to the OSS Agreements, NNI was granted non-exclusive licenses to use the OSS

Software. Copies of the OSS Agreements are annexed as Exhibit “A”.

       16.     The OSS Software includes software tools, libraries and code that Nortel uses to

develop certain products, which products Nortel sells to end users. Nortel has used many copies

of the OSS Software since the inception of the OSS Agreements.

       17.     The OSS Software is OSS’ main asset.          Substantially all of OSS’ business

consists of licensing the OSS Software to entities and receiving fees for such licenses.

       18.     NNI’s proposed transfer of the OSS Software to a third party for valuable

consideration to NNI would deprive OSS of its license fees and risk, potentially, such third party

having the continued use of the OSS Software without having to pay fees to OSS.

       19.     In addition, OSS has concerns if the OSS Software were to be provided to a

competitor of OSS. Presently, it is impossible to know if the ultimate purchaser of the Assets is

a competitor of OSS or, arguably, may hold interests adverse to those of OSS.

       20.     Furthermore, there is a distinct risk that the OSS Software may be transferred to a

third party, with which OSS might not agree to contract for various business reasons. Those

reasons include, without limitation, such party’s use of the OSS Software in a manner that could

adversely affect OSS’ ownership and intellectual property rights or to a third party located in a

foreign jurisdiction that will not enforce OSS’ ownership rights with respect to the software. For



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example, if the transferee were to distribute certain source code provided as part of the software,

which distribution is prohibited by the OSS Agreements, this would seriously affect OSS’

business. OSS would have to proceed with costly and time consuming litigation to prevent

further damage to its rights.

         21.    The OSS Agreements also authorize NNI to use OSS’ trademarks in connection

with marketing and distributing the OSS Software or those NNI products that incorporate any of

the OSS Software. A transfer of that right to a third party purchaser - - not approved by OSS - -

greatly impairs the value and usefulness of the OSS trademarks.

         22.    Pursuant to Section 12.4 of the OSS Agreements, NNI’s duties and rights under

the OSS Agreements with respect to the OSS Software “may not be sold, assigned, sublicensed

or otherwise transferred by NNI, in whole or in part, without the prior written consent of OSS.”

         23.    In addition, pursuant to Sections 10.1 and 10.2 of the OSS Agreements, any

source code provided by OSS, and source code produced by the use of the OSS Software, are

confidential information of OSS and cannot be disclosed by NNI to third parties. Thus, absent

OSS’ consent, OSS is greatly concerned that NNI may breach these provisions of the OSS

Agreements in its negotiations with any potential purchaser. NNI may already have breached

these provisions.

         24.    Furthermore, pursuant to Section 2.1.1 and 4.5 of the proposed Sale Agreement,

NNI seeks to both transfer rights to a proposed buyer and to retain certain license privileges and

benefits as though no assignment had been made. That is unacceptable to OSS because two

parties would have a license to the software though a license fee would only be paid by one

party.




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                              LEGAL BASIS FOR OBJECTION

       25.     Pursuant to 11 U.S.C. § 365(a) and (f) of the Bankruptcy Code, the trustee,

subject to the court’s approval, may assume or assign any executory contract or unexpired lease

of the debtor. The licenses for the OSS Software, which NNI may, in fact, assume and assign,

are executory contracts excluded from the reach of § 365(a) and (f) by the exception in 11 U.S.C.

§ 365(c)(1). Under § 365(c)(1),


               The trustee may not assume or assign any executory contract or
               unexpired lease of the debtor, whether or not such contract or lease
               prohibits or restricts assignment of rights or delegation of duties, if-

               (1) (a) applicable law excuses a party, other than the debtor, to such
               contract or lease from accepting performance or rendering
               performance to an entity other than the debtor or the debtor in
               possession, whether or not such contract or lease prohibits or
               restricts assignment of rights or delegation of duties; and

                    (b) such party does not consent to such assumption or
                assignment . . .

       26.     The Third Circuit adheres to the definition under Countryman of an executory

contact as a contract in which “the obligations of both the bankrupt and the other party to the

contract are so far unperformed that the failure of either to complete performance would

constitute a material breach excusing the performance of the other.” See In re Access Beyond

Tech., Inc., 237 B.R. 32, 43 (Bankr. D. Del. 1999) (quoting Countryman, Executory Contracts in

Bankruptcy; Part I, 57 Minn. L. Rev. 439, 460 (1973)) (citing Sharon Steel Corp. v. Nat’l Fuel

Gas Distrib. Corp., 872 F.2d 36, 39 (3d Cir. 1989)).

       27.     This Court has also held that intellectual property licenses, including copyright

licenses, are executory contracts within the meaning of 11 U.S.C. § 365(c) under the




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Countryman definition. See In re Valley Media, Inc., 279 B.R. 105, 135 (Bankr. D. Del. 2002)

(copyright license found to be executory contract); In re Golden Books Family Entm’t Inc., 269

B.R. 311, 314 (Bankr. D. Del. 2001) (“courts generally have found intellectual property license

to be ‘executory’ within the meaning of section 365(c) because each party to the license had the

material duty of ‘refraining from suing the other for infringement of any of the [intellectual

property] covered by the license’”) (terms in brackets included in original); Access Beyond

Tech., 237 B.R. at 43-44 (patent license agreement found to be executory contract).

Accordingly, the OSS Agreements for the licensing of OSS Software are executory contracts

because they provide for the licensing of OSS’ intellectual property to NNI.

       28.     In accordance with the exception outlined in § 365(c)(1)(a), there is applicable

non-bankruptcy law that prohibits the assumption and assignment of non-exclusive intellectual

property licenses, like the OSS Agreements. Under the Copyright Act, 17 U.S.C. § 201(d), the

owner of a copyright may transfer, by a license or otherwise, in whole or in part, any of the

exclusive rights that inure to the benefit of the copyright holder as defined in 17 U.S.C. § 106.

Those rights under § 106 include the right to make copies of the copyrighted work, prepare

derivative works based on the copyrighted work, and distribute copies of the copyrighted work

to the public for sale. Thus, any exercise of these exclusive rights, or any transfers of these

rights pursuant to a non-exclusive license, may only be accomplished with the consent of the

copyright holder.

       29.     The Copyright Act recognizes a distinction between exclusive licenses, which

transfer all rights of the copyright owner to the extent of the license to the licensee, and non-

exclusive licenses, where all rights remain with the licensor. See In re Patient Educ. Media, Inc.,

210 B.R. 237, 240 (Bankr. S.D.N.Y. 1997) (holding that photographer had granted debtor a



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nonexclusive license in his copyrighted work, and thus, debtor could not transfer license to

purchaser of substantially all of its assets without photographer’s consent. Id. at 243). The

owner of an exclusive license receives the rights of exclusive ownership of the copyright and

may act without the consent of the copyright owner. See Golden Books, 269 B.R. at 319 (Bankr.

D. Del. 2001) (holding that copyright law provides a distinction between treatment of exclusive

and non-exclusive licenses to copyright material and that copyright law would not prevent

assumption and assignment of work held pursuant to an exclusive license).

        30.    However, the holder of a non-exclusive license does not possess all of the rights

of exclusive ownership of the copyright, and thus, may not take any action with respect to the

copyright, including assignment of its license, without the consent of the copyright owner. See

Valley Media, 279 B.R. at 135 (“A non-exclusive license of rights by a copyright owner to

another party is not assignable by that party without the permission of the copyright holder under

federal copyright law since the license represents only a personal and not a property interest in

the copyright); Patient Educ. Media, 210 B.R. at 240 (“non-exclusive license is personal to the

transferee . . . and the licensee cannot assign it to a third party without the consent of the

copyright owner”).

        31.    Notably, the OSS Agreements between OSS and NNI expressly provide in § 12.4

that “the OSS Software and OSS Generated Source Code may not be sold, assigned, sublicensed

or otherwise transferred by Nortel Networks, in whole or in part, without the prior consent of

OSS”.

        32.    Here, the OSS Agreements with NNI clearly set forth in the “LICENSE” section,

specifically paragraphs 4.1-4.2, that “[s]ubject to the payment of fees . . . OSS grants Nortel

Networks a non-exclusive, worldwide right” to perform various actions outlined in the OSS



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Agreements with respect to its use of the OSS Software. (See OSS Agreements at 7). Thus,

there can be no dispute that all NNI possesses are non-exclusive licenses for the use of the OSS

Software.

       33.      Accordingly, because applicable non-bankruptcy law, here the Copyright Act,

prohibits NNI from transferring its non-exclusive licenses in the OSS Software without the

consent of OSS, and such consent is denied, NNI may not assume and assign its non-exclusive

licenses with OSS as part of this bankruptcy proceeding. See In re Sunterra Corp., 361 F.3d 257,

260, 271 (4th Cir. 2004) (debtor not permitted to assume non-exclusive software license under §

365(c)); Patient Educ. Media, 210 B.R. at 243 (relying on case law concerning non-assignability

under bankruptcy and federal law of non-exclusive patent licenses to hold that non-exclusive

copyright license could not be assigned pursuant to § 365(c) without copyright owner’s consent);

Access Beyond Tech., 237 B.R. at 47 (non-exclusive patent cross-license agreement cannot be

assigned pursuant to § 365(c)); Cf. Golden Books, 269 B.R. at 314 (determination as to whether

copyright license is assignable under § 365(c) turns on whether license is exclusive or non-

exclusive).

       34.      In addition, under trademark law, the registration of a trademark provides the

registrant with the exclusive right to use the mark, see 15 U.S.C. § 1057(b) and § 1115, and any

person who uses a trademark without the consent of the trademark registrant can be subject to

civil suit for infringement. See 15 U.S.C. § 1114.

       35.      Trademark law similarly provides that the registrant of a trademark may assign

the mark, but such assignment must be by consent or “by instrument in writing duly executed.”

See 15 U.S.C. § 1060.




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       36.     In § 4.8 of the OSS Agreements, OSS also agrees to permit NNI to use its

trademarks in connection with marketing and distributing NNI products, provided, however, that

NNI properly identifies OSS as the owner of such trademarks and complies with the instructions

of OSS regarding the use of the marks.

       37.     The courts that have addressed the assumption and assignment of licenses to use

trademarks have relied upon cases in the copyright and patent areas to similarly hold that the

exception under § 365(c)(1) applies with equal force to prohibit the assignment of trademark

licensing agreements. See In re: Wellington Vision, Inc., 364 B.R. 129, 136 (S.D. Fla. 2007)

(precluding assignment of franchise agreement that provided for right to use trademarks as a

license under the Trademark (Lanham) Act and § 365(c) and noting that “a clause against

unreasonable withholding of consent is not equivalent to a clause expressly allowing assignment

without consent.”); In re N.C.P. Marketing Group, Inc., 337 B.R. 230, 237-238 (D. Nev. 2005)

(holding that “Because . . . under applicable trademark law, trademarks are personal and non-

assignable without the consent of the licensor, the [owners’] trademark would be unassumable as

part of the bankruptcy estate of NCP without the [owners’] consent.”)

       38.     Moreover, for § 365(c)(1) to be applicable, not only must non-bankruptcy law

prohibit the transfer of the property, but the non-debtor party must withhold its consent. As

previously noted, OSS refuses to consent to the assignment of its non-exclusive licenses with

NNI under the present terms of the asset sale. OSS may withhold consent to such assignment,

not only under the applicable law discussed above, but pursuant to section 12.4 of the OSS

Agreements, which provides that “the OSS Software and OSS Generated Source Code may not

be sold, assigned, sublicensed or otherwise transferred by Nortel Networks, in whole or in part,

without the prior written consent of OSS.”



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        39.     Although NNI has requested that this Court approve the sale of certain assets of

the Debtor, including the Debtor’s non-exclusive licenses to certain patent intellectual property

which encompasses the OSS Software, pursuant to § 365(a) and (f) of the Bankruptcy Code,

such assignments or transfers cannot take place where the exceptions to § 365(a) and (f), under §

365(c), are applicable.     Thus, under the OSS Agreements, relevant bankruptcy law, and

applicable non-bankruptcy law, the Debtor should not be permitted to transfer its non-exclusive

licenses with OSS without the consent of OSS.

        40.     In addition, when NNI filed a motion requesting that this Court authorize the sale

of its CDMA and LTE, OSS filed a similar objection to the transfer - - even inadvertently - - of

Debtors’ non-exclusive licenses to the OSS Software without its consent.

        41.     In response to that objection, this Court approved the following language in the

final sale order:

                34.     Nothing in this Order provides for the assumption and assignment of any
               contract or license with OSS Noklava [sic], Inc., successor to Open System
               Solutions, Inc. (“OSS”) pursuant to section 365 of the Bankruptcy Code. To the
               extent that the Purchaser elects to have the Debtors assign to the Purchaser any
               contract with OSS relating to the Assets, in whole or in part, the Debtors and
               Purchaser will do so in accordance with the terms of such contract or license, which
               terms include, inter alia, the written consent of OSS. [D.I. 1205]

        42.     Similarly, when NNI filed a motion requesting that this Court authorize the sale

of its Next Generation Packet Core network components (“Next Generation Assets”), OSS filed

a similar objection to the transfer of Debtors’ non-exclusive licenses to the OSS Software

without its consent.

        43.     OSS and the Debtors agreed upon the following language which the Court

included in its final sale order for the sale of the Next Generation Assets:

                25.    Nothing in this Order provides for the assumption and assignment of any
                contract or license with Open System Solutions, Inc. (“OSS”) pursuant to section


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               365 of the Bankruptcy Code. To the extent that the Purchaser elects to have the
               Debtors assign to the Purchaser any contract with OSS relating to the Purchased
               Assets, in whole or in part, the Debtors and Purchaser will do so in accordance
               with the terms of such contract or license, which terms include, inter alia, the
               written consent of OSS. In addition, nothing in this Order permits or may be
               construed to permit Purchaser any right to access or to use or to have the right to
               use OSS’ license and/or software in connection with the Assets purchased. [D.I.
               1760]


       44.     OSS has also reached an agreement with the Debtors that similar language will be

included in the proposed Sale Order for the Sale of NNI’s Metro Ethernet Networks Business.

Unfortunately, Debtors’ counsel inexplicably declined to enter into such an agreement with

respect to the sale of the GSM/GSM-R business, thus necessitating the filing of this objection.

       45.     For the foregoing reasons, similar language is appropriate in any sale order issued

with respect to the sale of the GSM/GSM-R business by NNI. This notice would serve to protect

OSS’ interest in its intellectual property, to uphold the terms of the OSS Agreements, and to put

potential purchasers on notice of the infringement of the OSS Software.

                                        CONCLUSION

       For each of the reasons set forth above, OSS respectfully requests entry of an order

denying the sale of the Assets to any purchaser under the present terms of the proposed Sale

Agreement.




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Dated: November 24, 2009                 POLSINELLI SHUGHART PC
       Wilmington, Delaware
                                   By:   /s/ Christopher A. Ward
                                         Christopher A. Ward (No. 3877)
                                         Justin K. Edelson (No. 5002)
                                         Shanti M. Katona (admitted pro hac vice)
                                         222 Delaware Avenue, Suite 1101
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 252-0920
                                         Facsimile: (302) 252-0921
                                         -and-
                                         Robert E. Nies, Esq.
                                         WOLFF & SAMSON PC
                                         The Offices at Crystal Lake
                                         One Boland Drive
                                         West Orange, New Jersey 07052
                                         Phone: (973) 325-1500
                                         Facsimile: (973) 325-1501

                                         Counsel for OSS Nokalva, Inc.




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